 Probation Form No. 35                                Report and Order Terminating Probation /
 (1/92)
                                                                            Supervised Release
                                                              Prior to Original Expiration Date

                            UNITED STATES DISTRICT COURT
                                          for the
                             Western District of North Carolina


UNITED STATES OF AMERICA

                   vs.                                                     Crim. No. 4:96CR53-6

Fredrick Lamont Hartgrove


        On 12-29-2003 the above named was placed on Supervised Release for a period of 5
years. He has complied with the rules and regulations of Supervised Release and is no longer in
need of supervision. It is accordingly recommended that Fredrick Lamont Hartgrove be
discharged from supervision.


                                             Respectfully submitted,

                                     by        s/ D. Mark Hall
                                             D. Mark Hall
                                             U.S. Probation Officer
                                             816 Highway 321, NW
                                             Hickory, NC 28601
                                             (828) 267-3512

Approved By:

      s/ Christine S. Nickel
Christine S. Nickel
Supervising U.S. Probation Officer



                                  ORDER OF THE COURT

       Pursuant to the above report, it is ordered that the defendant be discharged from
Supervised Release and that the proceedings in the case be terminated.




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